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 4
 5
 6                      UNITED STATES DISTRICT COURT FOR THE
 7                        WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 8
 9
      UNITED STATES OF AMERICA,                          NO.      MJ21-322
10
                            Plaintiff,
11                                                       COMPLAINT FOR VIOLATION
12                     v.
13
14    ELVIN HUNTER BGORN WILLIAMS,
15                          Defendant.
16
17 BEFORE, Chief United States Magistrate Judge Brian A. Tsuchida, Seattle, Washington.
18         The undersigned complainant, David Narrance, Special Agent, Federal Bureau of
19 Investigation, being duly sworn states:
20                                           COUNT 1
21        (Providing Material Support to a Designated Foreign Terrorist Organization)
22         Beginning in or before November 2020, and continuing through May 28, 2021,
23 within the Western District of Washington, and elsewhere, ELVIN HUNTER BGORN
24 WILLIAMS knowingly attempted to provide material support and resources, that is,
25 personnel, including himself, and services, to a designated foreign terrorist organization,
26 namely, the Islamic State or Iraq and al-Sham (“ISIS”), with knowledge that ISIS was a
27 designated terrorist organization and that it engaged in terrorist activity and terrorism.
28         All in violation of Title 18, United States Code, Section 2339B.

     COMPLAINT - 1                                                        UNITED STATES ATTORNEY
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 1         This complaint is to be presented by reliable electronic means pursuant to Federal
 2 Rules of Criminal Procedure 4.1 and 41(d)(3). And the complainant further states:
 3                             Affiant’s Training and Experience
 4         I, David Narrance, am a Special Agent with the Federal Bureau of Investigation
 5 (“FBI”). I have been a Special Agent with the FBI since August 2014. I am presently
 6 assigned to the FBI Seattle Joint Terrorism Task Force (“JTTF”). I have received
 7 training regarding investigating terrorism related offenses and other national security
 8 matters. During my career, I have participated in numerous investigations of individuals
 9 who were involved in terrorist related activities and motivated by extremist ideologies.
10 Prior to joining the FBI, I worked for eight years as a federal agent for the United States
11 Border Patrol.
12         The facts in this affidavit come from my training and experience, and information
13 obtained from other agents, law enforcement officers, intelligence analysts, and
14 witnesses. This affidavit is intended to show there is sufficient probable cause that the
15 defendant committed the offense alleged above and does not set forth all my knowledge
16 about this matter.
17           The Islamic State’s Designation as a Foreign Terrorist Organization
18         On or about October 15, 2004, the U.S. Secretary of State designated al Qaeda in
19 Iraq (“AQI”), then known as Jam 'at al Tawid wa' al-Jahid, as a Foreign Terrorist
20 Organization (“FTO”) under Section 219 of the Immigration and Nationality Act (the
21 “INA”) and as a Specially Designated Global Terrorist entity under Section 1(b) of the
22 Executive Order 13224. On or about May 15, 2014, the Secretary of State amended the
23 designation of AQI as a FTO under Section 219 of the INA and as a Specially Designated
24 Global Terrorist entity under Section 1(b) of Executive Order 13224 to add the alias
25 Islamic State of Iraq and the Levant (“ISIL”) as its primary name. The Secretary also
26 added the following aliases to the FTO listing: the Islamic State of Iraq and al-Sham (i.e.,
27 “ISIS,” which is how the FTO will be referenced herein), the Islamic State of Iraq and
28 Syria, ad-Dawla al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-

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 1 Furquan Establishment for Media Production. On September 21, 2015, the Secretary
 2 added the following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date,
 3 ISIS remains a designated FTO.
 4                                      Overview of the Investigation
 5           Williams is a self-radicalized ISIS adherent who, in November 2020, pledged an
 6 oath of “bayat” (allegiance) 1 to Abu Ibrahim al-Hashimi al-Quarashi, the current leader
 7 of ISIS. Since then, Williams has told others, including family members, friends, and
 8 associates, as well as multiple FBI confidential human sources (“CHSs”), that he wants to
 9 travel overseas, join ISIS, and wage jihad on behalf of ISIS.
10           In February 2021, Williams began communicating over an encrypted messaging
11 application with two FBI CHSs who represented themselves to be ISIS recruiters who
12 would approve and facilitate Williams’ travel for jihad on behalf of ISIS. Through these
13 purported ISIS recruiters, Williams tendered a putative application to ISIS listing his
14 reason for travel as “jihad.” The “recruiters” ultimately told Williams that his application
15 had been approved, and Williams requested to travel to the Sinai desert to fight with ISIS.
16 The “recruiters” told Williams that his travel would receive final authorization after he
17 obtained a passport and purchased an airline ticket.
18           During the spring of 2021, Williams applied for a U.S. passport and worked at a
19 job in the Seattle area to save money for his intended travel. Williams also recruited
20 another Seattle area associate to travel with him; unbeknownst to Williams, this associate
21 recently had become another FBI CHS. Williams received his passport on May 6, 2021.
22 That same day, Williams sent the purported ISIS recruiters a photograph of the passport
23 and purchased an airline ticket for travel from Seattle, via Amsterdam and Paris, to Cairo,
24 Egypt, departing on May 28, 2021, at 1:35 p.m. Williams was arrested on May 28, 2021,
25 at Seattle-Tacoma International Airport, as he attempted to board the flight to Cairo.
26
27
28   1
      Where English words in brackets follow Arabic words in this document, they have been supplied by an FBI
     Arabic linguist who reviewed the affidavit.
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 1                               Background of the Investigation
 2         Williams is a United States citizen who was born on November 12, 2000, in or
 3 near Santa Rosa, California. Williams first came to the attention of the FBI in
 4 October 2017 when, as a juvenile, he caused concern among administrators at his high
 5 school. The school administrators contacted the FBI and reported, among other things,
 6 that Williams told others at the school that he wanted to join ISIS and claimed that the
 7 May 2017 ISIS attack at a music concert in Manchester, United Kingdom, during which
 8 numerous people were killed and injured, was justified because the performer dressed
 9 provocatively.
10         FBI Special Agents interviewed Williams’ mother on November 17, 2017.
11 Williams’ mother reported that Williams told her he wanted to move to Syria or Iraq to
12 fight for ISIS. She also stated that Williams had been kicked off social media for terms
13 of service violations related to pro-ISIS posts. Williams’ mother explained that she
14 terminated internet service at her home because Williams was using the internet to access
15 ISIS-related sites and social media accounts. Williams’ mother made a subsequent report
16 to authorities that she was concerned Williams wanted to travel to Syria to join a foreign
17 terrorist organization.
18            Concerned Citizen Approaches the FBI about Williams’ Activities
19         In November 2020, a concerned citizen approached the FBI on behalf of a Seattle
20 area mosque. The citizen reported that members of the mosque had been looking after
21 Williams for over a year as an act of charity – encouraging Williams to de-radicalize,
22 assisting him with a place to live, with food, and with tuition for a semester of college.
23 Members of the mosque also provided Williams with a cell phone and a laptop computer,
24 in hopes that they would assist Williams with a job search. The mosque members made
25 clear to Williams that he would be required to abandon ISIS if wanted to accept the
26 mosque’s help. When the concerned citizen observed Williams using the phone to view
27 ISIS videos and engage in online chats with like-minded radical individuals, the
28 concerned citizen directed Williams to return the cell phone that had been provided to

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 1 him. Members of the mosque reviewed the cell phone and were disturbed to find
 2 numerous ISIS-related videos that depicted scenes of graphic violence (including
 3 summary executions and beheadings by ISIS militants); other ISIS military propaganda;
 4 and a video on how to manufacture explosives, which Williams appeared to have
 5 distributed to others. The concerned citizen also examined an encrypted messaging app
 6 on the phone and found that Williams had accessed numerous ISIS videos. Members of
 7 the mosque ultimately returned the phone to Williams at his request because Williams
 8 said that he needed a phone to facilitate a job interview. The concerned citizen explained
 9 that the mosque terminated its efforts to support Williams after this interaction. 2
10           In response to this new information, the FBI opened an investigation of Williams.
11 FBI agents interviewed Williams’ mother on several occasions during late 2020 and early
12 2021. She explained that Williams had recently been attending a mosque and that he
13 upset the members due to his radical behavior. She stated that members of the mosque
14 contacted her and said they were worried that Williams would be “a terrorist and do an
15 attack one day.” According to the mother, Williams was both verbally and physically
16 abusive to both herself and her daughter on a regular basis.
17           Williams’ mother said that Williams refers to ISIS as “our people” and that he was
18 becoming more radical each day. According to the mother, Williams had recently begun
19 talking about plans to move to Burma to “become a terrorist for real,” in her words.
20 Williams stated that ISIS has a list of cities in Burma with ISIS members inside.
21 Williams further said that “everyone is waiting” and soon there would be a terrorist
22 attack. Williams claimed to be waiting for approval to carry out an attack and described
23 a chain of command within ISIS that approves such attacks. The mother also stated that
24 Williams was obsessed with weapons, although she did not know him to have direct
25 access to any weapons. She further stated that Williams likes to talk about explosives
26 and chemicals and has read books about explosives in the past.
27
28
     2
       The concerned citizen described above subsequently became an FBI CHS, hereafter referred to as “CHS-1.”
     CHS-1 has declined any compensation for CHS-1’s work.

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 1            On December 26, 2020, FBI agents interviewed one of Williams’ former
 2 roommates who lived with him in or about October 2020. When shown a photograph of
 3 Williams, the roommate turned to his other roommates (who were present for the
 4 interview) and stated, “Yeah, the terrorist I was talking about. You guys thought I was
 5 joking.” 3 According to the roommate, Williams told him that he (Williams) wanted to
 6 join ISIS and would regularly and openly discuss his affinity for ISIS. The roommate
 7 further stated that he saw Williams regularly engage in ISIS-related online chatrooms.
 8 The roommate described Williams as “radical.”
 9            FBI agents interviewed Williams on several occasions during late 2020. On
10 December 22, 2020, Williams spoke with FBI agents and admitted that he regularly made
11 pro-ISIS postings on various social media platforms. Williams further stated that he no
12 longer attended any mosque because he was “too extreme” for all the local mosques.
13 Williams stated that he felt isolated, lonely, and repeatedly expressed the desire to “find a
14 wife.” Williams stated that he had been “off of [his] medications” for about a year. He
15 admitted to previously having suicidal thoughts but claimed to currently have no
16 intentions of hurting himself or others. Williams told the agents that he wants to travel to
17 the Maldives because there are more ISIS supporters there.
18 //
19 //
20 //
21 //
22 //
23 //
24 //
25 //
26 //
27
28   3
       Throughout this affidavit, when oral statements are put in quotation marks, they are the most accurate version of
     the statements available to date. In some instances, more formal transcriptions may become available at a later time.
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 1                                   Williams Pledges Allegiance to ISIS
 2            On or before November 20, 2020, Williams posted an online video of himself
 3 pledging allegiance to ISIS. 4 In the video, Williams is heard pledging his allegiance to
 4 Abu Ibrahim al-Hashimi al-Qurashi, the leader of ISIS. There is text imposed over the
 5 beginning of the video which reads, “Gave my pledge today,” as depicted below:
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21 //
22 //
23
24
25   4
       According to records obtained during this investigation, two days earlier, on or about November 18, 2020,
26   Williams sought guidance online from another person regarding how to properly pledge allegiance, or “make bayat,”
     to ISIS, asking, “Asalaamu alaikum, can you send me what I need to say for my pledge.” The other person
27   responded, “You mean bayat?” Williams responded in the affirmative. The other person responded with the
     following text, which Williams used in his video: “I (your name) swear allegiance to Amir al-Mumineen Abu Irahim
28   Al-Hashimi Al-Qurayshi in following the religion of Allah, in obeying the ruler in what I like and dislike, in
     obedience until I see a clear kufr from him and will have argument from Allah to this.”

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 1           Williams thereafter began describing himself as a member of ISIS. For example,
 2 on November 24, 2020, Williams engaged in an online conversation with CHS-3. 5 CHS-
 3 3 asked if Williams was a true supporter of “Dawlah,” another name for ISIS. Williams
 4 responded, “If you have questions regarding our aqeedah [creed] and beliefs I can send
 5 you some stuff. There is a lot of slander against us.” (emphasis added). On January 5,
 6 2021, Williams told CHS-3 about his interest in traveling to Burma to “make hijrah.”
 7 Among other things, Williams stated: “There will be a call to make hijrah soon []. The
 8 location is Burma, I hope to see you there. . . . I’ll let you know when they make the
 9 call, brother.” Based on my training and experience, and my familiarity with the facts of
10 this investigation, I understand that the phrase “make hijrah” in this context is a reference
11 to foreign travel for the purpose of fighting on behalf of ISIS.
12           In January 2021, an FBI online covert employee (“OCE-1”) contacted Williams
13 after observing ISIS propaganda and beheading videos on Williams’s social media
14 accounts. Williams was initially suspicious of OCE-1, but eventually engaged him in
15 conversation. Among other things, Williams told OCE-1: “Anwar al Awlaki is one of my
16 favorites, he was made shaheed [martyr].” 6 Williams also told OCE-1 that he wanted to
17 travel to Burma to fight for ISIS, and sent OCE-1 violent ISIS videos and two ISIS
18 propaganda publications. One publication was issued by ISIS’s al-Hayat Media Center in
19 August 2017. In the publication, ISIS reiterated its previous claims of responsibility for
20 recent terrorist attacks that occurred in Spain, Russia, Brussels, and Turkey. The second
21 publication was released on December 25, 2020, by a group in Burma allied with ISIS.
22 The publication exhorted ISIS followers to travel to Burma to fight on behalf of ISIS.
23
24
     5
       CHS-3 was opened by the FBI on June 3, 2020. CHS-3 was arrested on state criminal charges and agreed to
25   cooperate with the FBI in consideration for a sentencing reduction. CHS-3 also has been compensated for some of
26   CHS-3’s services. CHS-3’s reporting consistently has been reliable and corroborated. Among other things, CHS-
     3’s cooperation has resulted in thwarting two planned terrorist attacks.
27
     6
       Anwar Al-Awlaki was an Islamic lecturer and a leader of Al-Qaeda in the Arabian Peninsula (“AQAP”), a
     Yemen-based designated foreign terrorist organization that has claimed responsibility for terrorist acts against
28   targets in the United States, Saudi Arabia, Korea and Yemen since its inception in January 2009. Pursuant to a
     Presidential Executive Order, Al-Awlaki was designated by the United States as a “Specially Designated Global
     Terrorist” on July 12, 2010. Al-Awlaki was reportedly killed in Yemen in September 2011.
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1              Williams Discusses ISIS and his Travel Plans with a Family Member
2            In early January 2021, a family member contacted the FBI and reported that they
3 had recorded a conversation with Williams out of concern that Williams was radicalized
4 and poised to commit a crime. The family member shared the recording with the FBI. 7
5 During the conversation, Williams identified himself as a member of ISIS, spoke of his
6 suspicion that he was being monitored by the FBI, and spoke of plans to travel to Burma
7 to fight with ISIS militants. When Williams began speaking about traveling to Burma, it
8 prompted the family member to begin recording the conversation. Relevant portions of
9 the conversation are transcribed below:
10           Relative: Okay, so what was that Hunter? So, what pl…. what did you
             say? Burma. That’s where I stopped.
11
12           Williams: I said probably a major reason why the FBI is so interested in
             me, is because we are more of a threat now than we were before because
13           we are literally everywhere in territories in Africa. We have territories in
14           Afghanistan, Iraq now, again. Sham, which is Syria, again. We have
             territories in Lebanon. We have territories in Jordan. We have territories in
15           Myanmar which is also known as Burma. We have territories in Kashmir,
16           which India is currently occupying. We’re even forming in India.
17           Relative: Okay, who is “we” though? Is there a name? I’m just asking.
18
             Williams: I said it like six times []. I’m not gonna repeat myself.
19
20           Relative: What’s the name?
21           Williams: Especially if the FBI is probably freaking fucking parked outside.
22
             Relative: Is there a fucking name?
23
24           Williams: Yes, I just said it! ISIS, Dawlah, Daesh. It’s the same word.
25           Relative: So, what Hunter. You’re going to move to Burma?
26
             Williams: Yeah, I’m going to go live there.
27
28   7
      The family member recorded this conversation on their own initiative, with no involvement or prompting to record
     conversations by the FBI.
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1
          Relative: How are you going to get to Burma?
2
3         Williams: I’m gonna take a frickin’ flight.
4         Relative: How are you gonna get the flight? You don’t have the money.
5         You don’t have a passport.
6         Williams: I’m gonna get a passport.
7
          Relative: You don’t have an ID. How are you gonna pay for this?
8
9         Williams: The flight to Burma is only like 500 bucks. I’m getting a job [].
10        Relative: Where?
11
          Williams: I don’t know where yet. I just went to the Goodwill, probably
12        there. Probably with the FBI. They probably want me to get a job with them
13        so they can monitor every little thing I’m doing.
14        Relative: Why don’t you just work with them?
15
          Williams: I’m not gonna work with these people. You don’t work with
16        these people.
17                                         *****
          Relative: So how are you able to know everyone’s all over these places
18        then moving?
19
          Williams: Because we report on it and the media is reporting on it but it’s
20        being covered up.
21
          Relative: Who do you report to?
22
23        Williams: Because they’re trying to make it seem like ISIS is a distant threat.
24        Relative: What do you mean, you report to it? What is that supposed to mean?
25
          Williams: We have frickin’ articles. We have our own media. You know
26        the videos we post? They’re Hollywood quality videos []. We have HD and
27        4k videos. We have a whole news service.
28        Relative: How do you get your news?
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1         Williams: Through [website], it’s a site.
2         Relative: So, anybody can just…
3
          Williams: No, not anybody. It’s a secret site.
4
5         Relative: So, how did you find it if it’s secret?
6         Williams: 'Cause I’m in the loop.
7                                            *****
          Relative: Okay, well, I didn’t raise you to be racist.
8
9         Williams: I’m not racist.
10        Relative: And I didn’t raise you to be a terrorist, either.
11
          Williams: I’m not racist.
12                                       *****
13        Relative: So, how do you know where you’re moving? What do you mean?
14        Williams: It hasn’t been… We’re not told to go anywhere yet.
15
          Relative: Who tells you?
16
17        Williams: We’ll hear it.
18        Relative: From?
19
          Williams: It will probably be all over the news.
20
21        Relative: From where? A bird? Where do you hear it from?
22        Williams: Yeah, a little tweety bird [].
23
          Relative: Where do you hear it from? Who?
24
25        Williams: The loop.
26        Relative: What loop?
27
          Williams: Somebody hears it from somebody, who hears it from
28        somebody. It’s a chain of command.
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 1                        Williams Participates in Radical Online Group Chats
 2           Williams also spoke of his allegiance to ISIS and his determination to travel in
 3 support of ISIS in several online group chats during the same time period. 8 For example,
 4 records obtained in the course of this investigation document that on or about
 5 November 13, 2020, Williams participated in a group chat using the moniker
 6 “thatrussianmuslim,” during which Williams explained how he first learned about Islam.
 7 Williams also stated, “I was going to go and do my jihad in Iraq and Sham but the
 8 caliphate lost territory there . . .” In another group chat on or about November 18, 2020,
 9 Williams stated, “The caliphate will rise again soon inshAllah [God willing], the only
10 reason it was defeated is they stopped people from making hijrah and funding the
11 caliphate.” On February 15, 2021, Williams, using the account “ar_rusi_al_assad,” told
12 another person online: “I will be martyred.”
13           On or about November 12-18, 2020, Williams used the account
14 “thesilentmuwahid” to engage in group chats over an encrypted social media application.
15 Among other things, Williams stated: “[I] want my photos online just in case I become a
16 shaheed [martyr]”; “It happened when I posted all the instruction vids and bomb making
17 video”; “The only reason why I stay kinda quiet and don’t say or discuss things I want is
18 so I don’t get raided before I can be martyred”; “Can somebody send me the ruling on
19 suicide bombing. . . But by ones own hand, such as a truck bombing or vest”; “Since I
20 have no defense I suppose I will use my offense. Nobody will help me supply myself
21 with a shield so I will supply them with the end of my sword.”
22           On December 23, 2020, Williams, using the moniker “Ali Ar-Rusi,” engaged in an
23 online chat during which, among other things, he made the following statements about
24 ideas for conducting an attack: 9
25
26   8
       Williams often participated in chats that were closed to the public and open only to members who were vetted by a
27   moderator. Once in the group, participants tended to talk freely about their ISIS affiliation and commitment to
     radical jihad.
28   9
       This conversation was observed online by a former FBI CHS, who was not a participant in the conversation but
     captured screenshots of it and provided them to the FBI.
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1               • “We need to attack a public event one with some degenerate celebrity like
                  the one in 2017 with that whore [name omitted].”
2
3               • “My options are motor vehicle and the ancient one: fire.”
4
                • “Fire spreads fast and can kill many if set in an apartment or place of
5                 business but can be thwarted and put out.”
6
                • “Idk how to make explosives powerful enough for anything nor do I have
7                 the money.”
8
            Williams continued to discuss his desire to travel to join ISIS through early 2021.
9
     On or about February 15, 2021, Williams used the moniker “ar_rusi_al_assad” to tell
10
     another person, “I am getting [a] passport to leave this disgusting land. Before I do my
11
     [ISIS application] must be approved and then I shall leave once they are.” On
12
     February 16, 2021, in response to an online solicitation for donations to support ISIS,
13
     Williams responded, “Well [] I may be able to help with the donations, I am unsure as I
14
     am saving to travel but if I get credit card I will most definitely help.”
15
                       Williams Begins to Arrange Travel to Fight for ISIS
16
            On or about January 4, 2021, Williams spoke to CHS-1 about his desire to travel
17
     overseas and join ISIS. According to CHS-1, Williams said it was his dawah (duty) to
18
     commit a violent act to get his message across. Williams further stated that he was
19
     waiting for his call to hijrah. CHS-1 asked Williams whether he was in contact with any
20
     ISIS authorities overseas to receive the call to hijrah. Williams replied, “You would be
21
     surprised.” Williams later admitted that he had been making multiple attempts to contact
22
     overseas ISIS members, although he said they were suspicious that he was law
23
     enforcement. According to CHS-1, at that time, Williams had no immediate plans for
24
     violence, but was ready for it when the call came. CHS-1 stated that Williams was
25
     becoming increasingly radicalized as he spent more and more time online.
26
            On or about February 4-6, 2021, Williams engaged in a chat via an encrypted
27
     messaging app with two individuals who represented themselves to be ISIS recruiters. In
28

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 1 fact, they were FBI confidential human sources, CHS-4 and CHS-5. 10 Williams first
 2 encountered CHS-4 in an online group chat. CHS-4 portrayed himself as someone who
 3 had direct contacts with an overseas ISIS recruiter. Williams asked CHS-4 to introduce
 4 him to the recruiter. CHS-4 ultimately introduced Williams to CHS-5, who was
 5 described an overseas ISIS recruiter who would facilitate Williams’ travel for jihad.
 6           During one of his early conversations with CHS-4, Williams discussed a recent
 7 coup in Burma perpetrated by militants who pledged allegiance to ISIS. Williams stated:
 8 “There is going to be a call for hijrah there very very soon. Maybe this year or the next.”
 9 Williams then stated, “I am trying to get into contact [with ISIS]. But no luck so far.”
10 CHS-4 offered: “I know a brother who apparently has contact,” referring to CHS-5.
11 Williams replied: “Send me his contact. I need to leave this place.” CHS-4 then initiated
12 a group chat between Williams, CHS-4, and CHS-5, some of which is reflected in the
13 below screenshots. Williams used the moniker “Ali Ar-Rusi” during the conversation.
14           Williams asked CHS-5 for guidance on how to “make hijrah,” as follows: 11
15
16
17
18
19
20
21
22
23
24   10
        CHS-4 was opened by the FBI on or about July 8, 2020. CHS-4 was previously investigated by the FBI due to
     his expressing the desire to fight overseas in Yemen and become a mujtahid/martyr. CHS-4 was offered a
25   cooperation agreement in lieu of charges. CHS-4’s motivation was initially to work off these charges. CHS-4 also
26   has been compensated for his services. CHS-4 has been reliable and some of his reporting has been corroborated.
         CHS-5 was opened by the FBI on or about May 26, 2015. CHS-5 was previously the subject of an FBI counter-
27   terrorism investigation, but was never charged with a crime. CHS-5 has assisted the FBI in several investigations.
     CHS-5 has been reliable and much of his reporting has been corroborated. Over the years, CHS-5 has been
28   compensated for his services.
     11
       In order to protect the identity of sources, CHS monikers and avatars have been removed from all images.
      COMPLAINT - 14                                                                        UNITED STATES ATTORNEY
                                                                                            700 STEWART STREET, SUITE 5220
                                                                                             SEATTLE, WASHINGTON 98101
                                                                                                    (206) 553-7970
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 1           When CHS-5 asked, “U need hijrah akhi [brother]?” Williams responded:
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             Williams added:
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11           The conversation continued with Williams stating:

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15           CHS-5 then asked if Williams wished to mount an attack in America or travel
16 abroad to fight jihad: 12
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28   12
       Based upon my discussions with FBI linguists, I understand that the Arabic phrase istashahidiya fee amerika
     means self-martyrdom, i.e., a suicide attack, in the United States.
      COMPLAINT - 15                                                                         UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
                                                                                          SEATTLE, WASHINGTON 98101
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1         As the conversation went on, CHS-5 explained that Williams would need to make
2 an application to join ISIS, and that the application would be vetted by ISIS leadership.
3 Williams endeavored to prove his commitment to CHS-5, sending photographs of himself
4 and noting, “I train hard to serve allah in the fields of jihad.”
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18        CHS-5 asked Williams where he would like to travel, and Williams responded:

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     COMPLAINT - 16                                                    UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
                                                                        SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
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 1           Williams added:
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 9           CHS-5 asked whether Williams had the means to travel, including money for an
10 airline ticket and passport, and Williams responded:
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18           Later in the conversation, CHS-5 probed Williams’ commitment to jihad, asking
19 why he wanted to make “hijrah.” Williams responded as follows:
                                                                  13


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24
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28
     13
       Based on discussions with FBI linguists, I understand that the Arabic term junnah means eternal paradise.
      COMPLAINT - 17                                                                        UNITED STATES ATTORNEY
                                                                                        700 STEWART STREET, SUITE 5220
                                                                                         SEATTLE, WASHINGTON 98101
                                                                                                (206) 553-7970
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1         CHS-5 asked Williams, “U know brother the media that show beheading and
2 death to our enemies. This u want?” Williams responded, “Indeed.” The conversation
3 continued as follows:
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     COMPLAINT - 18                                               UNITED STATES ATTORNEY
                                                                  700 STEWART STREET, SUITE 5220
                                                                   SEATTLE, WASHINGTON 98101
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 1           As the conversation continued, CHS-5 explained a months-long approval process
 2 through which Williams’ application would be reviewed by multiple layers of ISIS
 3 leadership. At the end of the process, Williams’ travel would be approved to a specific
 4 location, and he would be notified. CHS-5 told Williams that after travel and training in
 5 that location, he would be an “official mujahid.” During this and subsequent
 6 conversations, CHS-5 made clear to Williams that before final approval would be granted
 7 and a specific travel destination designated, Williams would first need to obtain a
 8 passport for travel. Williams asked, “How long does this [ISIS application process]
 9 usually take to send and get approval?” CHS-5 replied that it would take at least one
10 week for initial approval and likely one month for final approval. Williams responded:
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             CHS-5 sent Williams the purported ISIS application to fill out. Williams tendered
19
     the below responses to the application, providing his full name, stating that his reason for
20
     travel was “Jihad,” and describing himself as being “strong, proficient in close quarters
21
     with handgun”: 14
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     14
       CHS-5 told Williams to ignore questions five and seven in the application (“Wilayah destination”/“Verified”).
      COMPLAINT - 19                                                                       UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
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            During the conversation, Williams sent CHS-5 photographs of his Social Security
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     card, his Washington State driver’s license, and a picture of himself:
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      COMPLAINT - 20                                                      UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
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 1                                Williams Begins Preparations to Travel
 2           During this investigation, an FBI confidential human source, CHS-2,
 3 communicated with Williams online and in person. 15 On February 14, 2021, Williams
 4 told CHS-2 that he needed to obtain a passport immediately. Williams asked CHS-2 to
 5 help him pay for the passport. Williams initially would not divulge why he wanted to
 6 obtain the passport. However, in the days that followed, Williams told CHS-2 about his
 7 desire to travel to fight with ISIS, and he attempted to convince CHS-2 to join him.
 8           On or about February 18, 2021, during a text conversation with CHS-2, Williams
 9 stated he was worried that he would not be able to leave “this disgusting place,” and
10 added, “Maybe they will put me on no fly list . . . . If they do they will regret it and I will
11 make my j** [jihad] here.” When CHS-2 asked Williams to clarify, Williams responded,
12 “I am not going to discuss this on the phone but if I am prevented from leaving the land
13 of the kuffar [non-believers] it will be so.” Williams also stated, “We will see when we
14 file for passport []. FBI may come to speak with me.”
15           On February 18, 2021, Williams contacted CHS-4 (one of the purported ISIS
16 recruiters) via messaging app and stated:
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     15
        Williams and CHS-2 had a personal relationship through a Seattle area mosque for over one year prior to the
     beginning of this investigation. CHS-2 became an FBI source in February 2021. CHS-2 has been compensated for
28   expenses. CHS-2 has pending charges in Washington State relating to solicitation of a minor. CHS-2 is hoping to
     receive consideration regarding the pending state charges, although no promises have been made to CHS-2.

      COMPLAINT - 21                                                                     UNITED STATES ATTORNEY
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 1           In response, CHS-4 asked how Williams was reported to the FBI. Williams
 2 answered, “Long story. But I will have passport ready in few months so I’d like to get
 3 the [ISIS application] approved by then.” When asked about the other “brother,”
 4 Williams answered, “The brother I am giving dawah [proselytizing] to, he wants to come,
 5 and he will give bayah [allegiance].” Williams elaborated: “He’s the person whom I am
 6 living with in a few days. . . I vouch for him.” 16 CHS-4 asked, “Alright. How serious is
 7 he about this?” Williams answered, “We are getting passports and he is helping me and
 8 supplying me with my passport. So I’d say 100%.” Williams further stated, “He’s with
 9 me now.” At the time, Williams was with CHS-2. As noted above, Williams recently
10 had begun attempting to convince CHS-2 to travel with him to fight with ISIS.
11           During a conversation on or about February 22, 2021, Williams again told CHS-2
12 that he needed to obtain a passport. Williams speculated that it would take at least two
13 months to receive the passport. Williams also said, “I gotta see if the brothers can help
14 me out with the money for the [airline] ticket.” During the same conversation, Williams
15 said, “This is what I’m saying man, [if] they prevent me from leaving America, they’re
16 gonna fucking regret it.” Williams explained that he would prefer to conduct an attack
17 overseas but would instead conduct an attack in the United States if he is not allowed to
18 travel abroad. Williams opined that he would be able to kill more people if he goes
19 overseas, as compared to a local attack that would only kill around 20 people. Williams
20 also explained that it was easy to get a rifle without registering it. Williams then showed
21 CHS-2 an explosives-making video and claimed to know how to make explosives,
22 although he admitted he had never done so before. Williams also told CHS-2 that he
23 wanted to introduce CHS-2 to his ISIS contacts and would like for CHS-2 to fight
24 overseas with him.
25           On February 24, 2021, Williams’ mother contacted the FBI to report that Williams
26 had recently asked her for a copy of his birth certificate. According to his mother,
27
28
     16
       At this time, Williams was hoping to move in with CHS-2, although that did not happen.
      COMPLAINT - 22                                                                      UNITED STATES ATTORNEY
                                                                                      700 STEWART STREET, SUITE 5220
                                                                                       SEATTLE, WASHINGTON 98101
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 1 Williams said he needed the birth certificate in order to get a passport, and that he would
 2 be “leaving with his brothers” in a few months.
 3         On February 24, 2021, during a discussion with CHS-2 over a messaging app,
 4 Williams expressed frustration about his current life situation. CHS-2 asked how he
 5 could help. Williams replied: “Nope literally nothing you can do, I am just going to live
 6 here and die here, entirely alone, without a spouse, hated by everybody except a few.
 7 Living in this disgusting land of fitnah and temptations.” CHS-2 replied: “I can help with
 8 passport, ticket if you want.” Williams stated that he was embarrassed and felt bad
 9 because CHS-2 had helped him with so much in the past. CHS-2 replied: “You don’t
10 have to feel embarrassing man. If you want to travel or not, that’s your choice. I am here
11 to help as brother.” Williams responded, “I need and want to get away from here.” CHS-
12 2 asked, “How can I help brother?” Williams stated: “I need money for passport and
13 flight ticket with you to Iraq.”
14         On or about March 1, 2021, Williams participated in an online chat with CHS-4
15 and CHS-5 (the purported ISIS recruiters). Williams stated: “My passport will be ready
16 next month and I will be leaving for Iraq . . . to marry . . . and then probably Sham [Syria]
17 a few weeks after.” CHS-5 told Williams that his application had been “pre-approved”
18 by ISIS. CHS-5 further explained that Williams would still need to receive final approval
19 from ISIS and would first “need passport becaus[e] cant fli [sic] without that.” Williams
20 replied: “I will have passport in 1 month or 2 months.” Williams also stated that “there is
21 a brother who I am going to be living with and traveling with who wishes to file [an ISIS
22 application] as well,” referring to CHS-2. Williams then added CHS-2 to the group chat
23 and informed CHS-2 that he (Williams) had been approved for travel by ISIS.
24         On or about March 2, 2021, CHS-2 noticed that Williams had created a new social
25 media account and asked Williams why he had done so. Williams responded, “So I can
26 keep in touch with people when I leave.” During a conversation a few days later,
27 Williams told CHS-2 that his preferred destination for travel was Egypt, to fight for ISIS
28 in the Sinai desert. During the same conversation, Williams reiterated that if the

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 1 government prevents him from traveling overseas, he would be willing to do an attack in
 2 the United States.
 3         On March 6, 2021, Williams engaged in an online group chat with CHS-5, CHS-4,
 4 and CHS-2. Williams stated that he expected to receive his passport within a month and
 5 asked, “When I get my passport [] where am I supposed to travel too [sic]?” CHS-5
 6 asked if Williams had a desired location. Williams answered: “I want to travel
 7 somewhere with desert, like Sinai.” CHS-5 explained some of the challenges involved
 8 with traveling to Sinai, and Williams replied: “Ask [the ISIS leaders] about Sinai, if I
 9 cannot go to Sinai I will make a decision between Ethiopia, Somalia, or Indonesia.” The
10 group further discussed the timing of the arrival of Williams’ passport and that Williams
11 would wait to purchase an airline ticket until after the passport arrived. During the
12 conversation, CHS-5 told Williams that he had been communicating on the side with ISIS
13 authorities and that they would approve his travel to Sinai if that was where he wanted to
14 fight. Williams confirmed: “I wish for Sinai.”
15         On March 10, 2021, Williams made an in-person passport application at a post
16 office in Des Moines, Washington. At Williams’ request, CHS-2 drove Williams to the
17 post office and paid for the application (with funds provided by the FBI). Williams
18 arranged for the passport to be mailed to CHS-2 because Williams did not have a stable
19 residence. That same day, in an apparent effort to recruit CHS-2, Williams sent CHS-2 a
20 link to a website containing a large cache of ISIS videos, as well as a link to make
21 donations to ISIS-affiliated causes.
22         On or about March 10, 2021, Williams engaged in a group chat with CHS-2, CHS-
23 4, and CHS-5. Williams told the group, “I will have my passport within 4 to 6 weeks
24 they said, I will send photo of it when it arrives.” He later added, “We may receive it [the
25 passport] sooner than 2 months.” Williams asked, “Where do we go for the training?”
26 When CHS-5 responded, “Sinai,” Williams clarified, “Yes, Sinai, but I need to know
27 where I am supposed to go in Egypt, who will meet us, when he will meet us, things like
28 that.” As the conversation continued, CHS-5 asked, “I told you what others bring for

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 1 hijrah?” Williams answered, “No you did not, can you tell me again so I can make a
 2 list.” CHS-5 described a list of items that Williams would need to acquire prior to his
 3 travel, including tactical gear, boots, and other items. Williams responded by sending
 4 pictures of a tactical vest and a solar-powered cell phone charger, asking if they were
 5 suitable. Williams further stated that he wanted to ensure the items he bought were “able
 6 to go on the flight with us, somethings [sic] you cannot take on the airplane.”
 7         On or about March 13, 2021, Williams spoke to CHS-2 about the items he needed
 8 to purchase for his planned trip. Williams said that he intended to sell his laptop
 9 computer, and possibly his cell phone, to help finance his travel. On March 15, 2021,
10 FBI surveillance agents observed Williams walking into a pawn shop located in Federal
11 Way, Washington. After Williams departed, agents interviewed employees at the pawn
12 shop and learned that Williams had, in fact, pawned a laptop computer.
13         On or about March 20-21, 2021, Williams engaged in an online group chat with
14 CHS-5, CHS-4, and CHS-2. Williams told the group that he was having trouble
15 purchasing the items he needed for his trip due to financial issues. Williams also stated
16 that he expected his passport would arrive “very soon . . . within 3 weeks.” In terms of
17 the timing of his travel, Williams stated: “I still need clothing, he [CHS-2] needs to pay
18 off his loan, we need to buy plane tickets.”
19         During early April 2021, Williams obtained a job at a local food processing plant.
20 He later told CHS-2, CHS-4, and CHS-5 that he was working for the specific purpose of
21 raising the funds needed to support his planned trip, including the purchase of necessary
22 items and an airplane ticket.
23         On April 4, 2021, Williams had a text message exchange with CHS-2. Williams
24 stated: “FBI IS AFTER ME APPEARENTLY [sic].” Along with this message, Williams
25 forwarded an article about an American couple who were arrested at an airport
26 attempting to join ISIS in Yemen. CHS-2 replied, “Believe me nobody after you, you
27 just overthinking and don’t believe the rumors.” Williams responded, “Okay, I just don’t
28 want to find out at the airport and be taken away. If I find out before, I can get approval

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 1 for an istshhadi [suicide] operation here, but I will just take your advise [sic] and ignore
 2 it,” referring to CHS-2’s assurances that nobody was “after” Williams. Williams later
 3 explained that his concern about the FBI came from a recent conversation he had with his
 4 mother, who said the FBI was looking for him. Williams ultimately dismissed the
 5 concern, stating his mother was drunk and there was nothing “real about the FBI story.”
 6         In early April 2021, Williams engaged in an online group chat with CHS-5, CHS-
 7 4, and CHS-2. Williams initially contacted CHS-4 asking, “Where do we go, I need to
 8 know so I know how much for the flight ticket.” CHS-4 encouraged Williams to eat well
 9 and stay in shape for the trip. Williams answered, “Too poor, but this is why I have the
10 job, so I can afford some food and things, buy the ticket, and leave.” Williams then
11 returned to his earlier question: “We need to know which country or and city to take a
12 flight too [sic] though. I don’t want to spend any unnecessary time here. . . . I need to
13 know the location so I know the cost.” Williams later reiterated to CHS-5: “Passport will
14 come in 2 weeks or more []. I need to know where we must go so I can buy the plane
15 ticket. I am currently working and need to know how much money I must make to afford
16 the ticket.” CHS-5 replied: “This is good news. . . . I don’t know the city because
17 approval has to come once passport comes. . . . It is safe to have 1,000-1,500 amerikan
18 dollars for flight.” Williams replied: “Okay, well insha’allah [God willing] it comes very
19 soon. It should be here this month.” Williams also stated: “I will be working for around
20 2 months until I have money for ticket, extra clothing, and to give leftover money to the
21 wilayat [Islamic State] when I arrive.” Referring to Williams’ job, CHS-4 urged, “Don’t
22 let them talk down to you,” Williams responded:
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 1         During April 2021, Williams worked steadily. On April 25, 2021, Williams
 2 reported to CHS-2 that he had used the funds from his first paycheck to purchase items
 3 for his trip. Williams sent CHS-2 the following images of himself in camouflage gear
 4 that he had purchased online:
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           On or about April 24, 2021, Williams engaged in an online chat with CHS-5,
15
     CHS-4, and CHS-2. Williams sent CHS-5 the below photograph of himself kneeling and
16
     wearing military fatigues, with the message below:
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27         During the same conversation, Williams stated: “For what better victory in the
28 way of our lord except death,” and included a smiling emoji.

      COMPLAINT - 27                                                   UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
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1         On April 26, 2021, Williams met with CHS-2. Williams told CHS-2 that he had
2 prepared a video and sent it to another person in Kazakhstan to be published online after
3 he became a martyr. Williams provided CHS-2 with a copy of the video. The video is
4 approximately one minute in length. A screen capture of the video is shown below, along
5 with a transcript of Williams’ narration:
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18
19        Have you not forgotten that the Lord said he will punish you for not going
          forth in the cause of Allah? When you are called to protect your brothers
20        and sisters and your kilafah, you are sitting here posting only words. I
21        want to see your actions. We want to see your actions. Allah (swt) wants
          to see your actions. Where are you? Where are you, oh mujahideen? . . .
22        Many of you sit here just joking with each other, posting memes, sending
23        videos. Nothing but posers, LARPers [live action role play] and wanna-be
          mujahideen. Many of you – a great deal of you – I have seen post your
24        daily lives, showing your weaponry and your wealth and your
25        vehicles. Yet, I do not see the blood on them. Why is that? If you are true
          and sincere in what you say, we would hear about such attacks
26        happening. We would see the blood on your knives, on the bumpers of your
27        cars, and on the barrels of your guns. So why do we not? Look in yourself
          and ask if I am sincere to Allah, or I am just posing for others. Do I live for
28        the aqeedah or I seek fame and fortune, only in this dunya.

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1         On April 26, 2021, Williams spoke with CHS-2 about his recent, unsuccessful
2 attempt to convince one of his friends, who Williams described as having access to
3 firearms, to commit an attack (with Williams) on a Seattle gay pride event. Williams
4 complained that the friend was not agreeing to participate. The relevant portion of the
5 conversation is transcribed below:
6         Williams: And this is what I asked him about. “Why don’t we do an ishtihadi
          [suicide] operation.” I already asked him about it before. “Come on do it with me.
7         Let’s go fucking do the gay pride parade in downtown Seattle.” It’s one of the
8         biggest pride parades in the United States. Plus, after COVID hits, there is going
          to be tons of people wanting to go to the gay pride parade.
9
10        CHS-2: What’s that pride parade?

11        Williams: Where the faggots do their march.
12
          CHS-2: Pride parade? What is that?
13
          Williams: Gay pride parade where the faggots they do . . .
14
15        CHS-2: Gay. Ohhhh.

16        Williams: And it’s a straight drive! So, if we get a semi-truck, we can drive
17        all the way through the parade and not have to stop once. Literally, [a] semi
          will go through everything. And then we can get out and shoot (laughs).
18        And I told him about that and I showed him the map and everything. And I
19        was like, “What’s your excuse? Come on man, let’s do it.” And he was
          like, “No, no I want to make hijrah.” But instead he is getting married and
20        moving states.
21
          CHS-2: Does he still talk to you or no?
22
          Williams: He has blocked me on [social media].
23
24        CHS-2: Ya.

25        Williams: You know, this is like I said. For the most part, all these people
26        are being like mendacious. They are just sitting there. You know, I feel
          like I am one of the only ones that is actually sincere. I don’t want to say
27        they are not sincere in their hearts but if they were sincere in their hearts,
28        they would at least behave like it. So, they just sit there, post memes, and
          take everything like a big joke.
     COMPLAINT - 29                                                      UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
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 1                             Williams Finalizes his Travel Plans
 2         On May 6, 2021, Williams sent a text message to CHS-2 stating, “I’ma try and get
 3 in touch with [CHS-5] about the passport today.” Later that day, Williams’s passport was
 4 delivered to CHS-2’s residence. CHS-2 sent a text message to Williams advising him
 5 that the passport had arrived. Williams responded, “Send picture,” with a smiling emoji.
 6 Williams added, “Send picture akhi so I may send it to [CHS-5].”
 7         Later on May 6, 2021, during a group chat with CHS-2, CHS-4, and CHS-5,
 8 Williams said: “Passport is here . . . I look super weird in the photo.” Williams then sent
 9 a photograph of his passport. Williams told CHS-5: “[I] will have money for plane ticket
10 next Friday [May 14], I have all my supplies ready, now I have my passport.” As the
11 group chat continued, Williams added, “[E]verything is well, I am just ready to leave dar
12 al kuffar [land of the non-believers]. . . . I can hardly wait, I wish to make my lord smile
13 upon me.” As the others expressed approval, Williams stated: “I wanted to remind I wish
14 to die in the battlefield. I feel slightly uncomfortable with detonating myself as there is a
15 slight disagreement, but if I am told to blow myself up for my brothers and for the sake of
16 Allah I will.” Williams further stated, “I wish to see the kuffar as I kill them, I want to
17 strike terror in them and make Allah pleased for doing so.”
18         Williams then began to discuss the logistics of his upcoming travel: “As I said, I
19 have all the supplies ready, I have the passport, and I will be able to buy a ticket by next
20 Friday. I am just waiting on which country we need to buy a ticket for, and instructions
21 on where to go.” CHS-5 responded, “Where do u want to go akhy [brother]?” Williams
22 responded, “Sinai, but I need instructions on which city to travel too [sic], and who I will
23 contact to bring me to the wilayat [Islamic State].” CHS-5 asked Williams when he
24 wanted to leave, and Williams responded, “As soon as possible, I will be able to leave
25 and get on a plane in weeks.” Williams continued to ask about the details of his travel:
26 “Do I need to go somewhere specific or I can just fly to Cairo and a brother can bring me
27 to the wilayat [Islamic State]?” CHS-5 confirmed that Cairo was an appropriate
28 destination. Williams responded, “I will message you with the date in a few hours.”

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 1            Approximately three hours later, Williams stated in the group chat, “I am leaving
 2 on the 28th. I will arrive May 29th at 11:10 p.m. in Cairo. The airport is Cairo
 3 International Airport.” As the group continued to discuss next steps, Williams added,
 4 “Okay, the ticket has been purchased, I am ready.” 17 Williams forwarded his travel
 5 itinerary to CHS-2. Williams’ flight is scheduled to depart Sea-Tac Airport on May 28,
 6 2021, at 1:35 p.m., flying through Amsterdam and Paris, and ultimately to Cairo.
 7 Williams selected the date of travel and specific flight itinerary on his own accord.
 8            On May 6, 2021, at Williams’ request, CHS-2 drove Williams to get a single-shot
 9 COVID vaccine in anticipation of his foreign travel.
10            On or about May 8, 2021, Williams participated in an online conversation with
11 CHS-5 and CHS-2. Williams confirmed that CHS-2 would be traveling with Williams on
12 the same flight. CHS-5 advised Williams that the ISIS contact in Cairo was aware of
13 Williams’ itinerary and would be at the airport to meet them upon arrival. CHS-5 also
14 told Williams to “look like a tourist” when he travels and to tell Customs that he is
15 “going to visit pyramids.” CHS-5 said he would provide further details closer to the date
16 of travel.
17            On or about May 9, 2021, Williams told CHS-2 that he planned to give his
18 employer notice that he would quit his job in two weeks. Williams said he already paid
19 his friend $200 for a portion of the cost of his airplane ticket to Cairo and that he still
20 owed the friend $780. Williams further stated that after he receives his final paycheck,
21 he would be able to pay the friend in full. That same day, CHS-2 received a text message
22 from Williams asking if CHS-2 was excited about their upcoming travel to Cairo. CHS-2
23 stated that he was excited, and asked: “How about you?” Williams replied: “I am very
24 excited, just think I may get detained at the airport.”
25
26
27   17
        Although his initial remarks during the group chat suggested that Williams intended to wait until May 14 to buy
28   his plane ticket, Williams later explained to CHS-2 that he convinced a friend to allow him to use the friend’s credit
     card to purchase the plane ticket, promising to reimburse the friend. As a result, Williams was able to buy the ticket
     earlier.
       COMPLAINT - 31                                                                          UNITED STATES ATTORNEY
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 1           On May 13, 2021, Williams and CHS-2 discussed how early they should arrive at
 2 the airport on May 28th. Williams said, “Let’s go five hours early, I don’t want to run
 3 into trouble.” CHS-2 agreed, and then Williams stated, “Especially if the FBI wants to
 4 come and speak, it could take hours.” Williams then suggested that they get a motel
 5 room the night before the flight, explaining, “[We] go there the day before and just go,
 6 walk into the airport.” CHS-2 agreed to this plan.
 7           On or about May 17, 2021, Williams and CHS-4 engaged in a conversation via
 8 encrypted messaging app. Williams said he was at the gym with his roommate and
 9 added, “We are standing around here and I look like I’m ready to bomb the place.
10 Hahahahaha.” CHS-4 commented, “My stomach is turning . . . stupid ass Israelis just
11 angers me.” 18 Williams answered:
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21
             Williams added, “I make sincere dua [prayer] you can leave to serve your lord
22
     soon . . . May Allah reward us both, and both grant us shuahdah [martyrdom].”
23
             On May 19, 2021, Williams met with CHS-2. Williams told CHS-2 that he was
24
     excited to travel to Sinai and was counting down the days. Williams explained that the
25
     friend who paid for his plane ticket “knows 100%” why Williams is travelling overseas,
26
27
28   18
       This was a comment about the ongoing military clashes between Hamas and the State of Israel that began in
     May 2021.
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 1 and that he is the only one whom Williams had told about his plans to travel to join ISIS.
 2 Williams told CHS-2 that when they arrive in the Sinai, they will likely be sent to
 3 Palestine/Gaza to fight with the Palestinians due to current events. Williams also advised
 4 CHS-2 to watch a You Tube video on how to assemble and disassemble weapons, stating
 5 that would likely be their first type of training at the ISIS training camp.
 6         On May 22, 2021, Williams met with CHS-2. CHS-2 asked Williams if he
 7 planned to say goodbye to any family members or friends prior to his travel, or whether
 8 he planned on just “disappearing.” Williams said that he planned to say goodbye to his
 9 mother. Later in the conversation, Williams expressed concern that he was “a little bit
10 suspicious” of CHS-5 and explained some of his reasons, including that CHS-5 allowed
11 Williams to choose his own destination of travel (Sinai). Among other things, Williams
12 expressed the concern that: “In the U.S. [law enforcement] can do anything they want. ...
13 This is why they make you hijrah, fake hijrah, and then they put you in the prison, where
14 you stay. . . . That’s why they built Guantanamo Bay outside of the U.S. They didn’t
15 put it, the prison, where they can keep the terrorists inside the U.S. Otherwise, they
16 would have to follow the law of the U.S.” In response, CHS-2 told Williams that CHS-5
17 seemed “legit.”
18         During the same meeting, Williams and CHS-2 watched several violent ISIS-
19 related videos that Williams accessed over the internet. While they viewed the videos,
20 Williams stated, “Man, I really want to behead the, they make me executioner.” CHS-2
21 asked, “You want to beheading people? Are you full okay with that? Are you okay with
22 blood?” Williams replied, “Yeah, 100%, man. . . . But, yeah, I really want to. Like, I
23 don’t want to do ishtihadi [suicide attack]. I don’t want to, you know. . .” CHS-2
24 finished Williams’s sentence with: “Bomb yourself?” Williams replied, “I would prefer
25 to kill them.” CHS-2 asked, “Is it like beheading?” Williams responded, “Either way, it
26 doesn’t bother me.”
27 //
28 //

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 1         On or about May 23, 2021, Williams participated in an online conversation with
 2 CHS-5 and CHS-2. Williams told CHS-5 that he had “been working out again and trying
 3 to get prepared for the training camp.” Williams reaffirmed, “I am ready.” CHS-5
 4 advised Williams: “This is the time some brothers choose to back out. I want to make
 5 sure you know that if u decide not to make hijrah it is no problem. Need to make sure u
 6 are fully committed now.” Williams replied: “Back out? Never, why would I back out of
 7 attaining junnah [eternal paradise]? There is nothing greater than fighting and dying in
 8 the cause of Allah.” CHS-5 directed the same question to CHS-2, who replied, “I won’t
 9 say no to [CHS-5].” CHS-5 then gave Williams specific instructions on how to navigate
10 through the airport in Cairo and meet up with the ISIS contact. Williams sent a
11 photograph of himself (with his face obscured) and stated, “This is what I will be
12 wearing.” The photo depicted Williams wearing a t-shirt and blue jeans, consistent with
13 the prior instructions he received from CHS-5 to “look like a tourist.”
14         On or about May 24, 2021, Williams participated in an online conversation with
15 CHS-5 and CHS-2. CHS-5 provided Williams with further instructions on how to meet
16 up with the ISIS contact at the Cairo airport. CHS-5 also confirmed that Williams had
17 final approval from ISIS leadership for “hijrah.” Williams replied: “[T]hank you so
18 much brothers [heart emojis]. You do not understand how happy I am rn [right now]?”
19 CHS-5 instructed Williams that he should not have any further communications with
20 CHS-5 or CHS-4 prior to his travel unless there was an emergency.
21         On May 25 and 26, 2021, Williams visited with his mother. Afterwards, Williams
22 explained to CHS-2 that he (Williams) told his mother that he was going on a trip to
23 Egypt to “see the pyramids” and would be returning home several days later.
24         On May 27, 2021, at approximately 8:30 p.m., Williams and CHS-2 checked into
25 a motel nearby Sea-Tac Airport, as Williams previously had suggested. While at the
26 motel, Williams viewed an ISIS video over his smartphone and discussed the upcoming
27 trip with CHS-2. Among other things, they discussed how difficult the ISIS training
28 camp would be, with CHS-2 commenting, “Maybe they’re gonna test us there.”

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 1 Williams stated, “I already told them what I want to do.” CHS-2 replied, “Yeah, but
 2 that’s gonna be different because it’s gonna be face-to-face. It’s not like messaging.”
 3 Williams stated, “I just want my lord to smile upon me.” CHS-2 asked, “How’s that
 4 gonna happen, man?” Williams replied, “Through my death, Inshallah [God willing].”
 5 CHS-2 asked Williams who his “biggest enemy” would be, and Williams replied: “The
 6 firmest of believers, you will find them, they have the most animosity towards the Jews.”
 7 Williams later commented: “I finally don’t have to act socially acceptable.”
 8                         The Arrest of Williams at Sea-Tac Airport
 9         On May 28, 2021, Williams, accompanied by CHS-2, went to Sea-Tac Airport
10 consistent with his travel plans. Williams checked in for his flight to Cairo and was
11 arrested at approximately 1:00 p.m. after he presented his boarding pass at the gate and
12 attempted to board the flight.
13         FBI agents advised Williams of his Miranda rights. Williams waived those rights
14 and agreed to speak with the agents. During the post-arrest interview, Williams
15 identified himself as a member of the “Islamic State” (ISIS). Among other things,
16 Williams stated that it was his “obligation” to do “hijrah” and to travel to a country that
17 practices Sharia law. When asked by agents what his role was going to be when he
18 arrived, Williams stated that he would be an “executioner” or a “machinegunner.” Later
19 during the interview, Williams stated: “My intent was to make hijrah. It doesn’t matter
20 what you guys do to me. I get rewarded for it.” Williams further stated, “Dude, you
21 either leave – it’s hijrah or jihad – or prepare explosives here.” Williams explained: “I
22 want to die. We love our deaths more than you love your lives.” Williams also said that
23 his only message to the U.S. government was: “Go to hell.”
24 //
25 //
26 //
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28 //

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